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                                   6                                     UNITED STATES DISTRICT COURT

                                   7
                                                                        NORTHERN DISTRICT OF CALIFORNIA
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                                  10     UNITED STATES OF AMERICA,
                                  11                       Plaintiff,                          No. C 14-00175 WHA

                                  12                v.
Northern District of California
 United States District Court




                                  13     PACIFIC GAS AND ELECTRIC                              ORDER TO SHOW CAUSE
                                         COMPANY,
                                  14
                                                           Defendant.
                                  15

                                  16          Defendant PG&E admits that it is not in full compliance with the following conditions of

                                  17   probation:
                                                         PG&E must fully comply with all applicable laws concerning
                                  18                     vegetation management and clearance requirements, including
                                                         Sections 4292 and 4293 of the California Public Resources Code,
                                  19                     CPUC General Order 95, and FERC FAC-003-4.
                                  20                     PG&E must fully comply with the specific targets and metrics set
                                                         forth in its wildfire mitigation plan, including with respect to
                                  21                     enhanced vegetation management. Compliance with these targets
                                                         and metrics, however, will not excuse any failure to fully comply
                                  22                     with the vegetation laws as required in paragraph 1.
                                  23          Moreover, the Court saw and heard PG&E CEO Bill Johnson say on television that

                                  24   PG&E’s grid will not be safe to operate in windstorms for ten years such that we could experience

                                  25   PSPSs for ten years, this due, at least in substantial part, to PG&E having failed to comply with

                                  26   California law regarding trimming and removing hazard trees. Furthermore, PG&E has repeatedly

                                  27   blamed the lack of contract crews for its shortfalls in vegetation compliance. Accordingly, PG&E

                                  28   shall show cause at a hearing on FEBRUARY 19 AT 8 A.M., why a further condition of probation
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                                   1   should not be imposed requiring PG&E to hire and train, as part of its own workforce, sufficient

                                   2   crews, and equipment to inspect and to trim and remove all vegetation so as to come into

                                   3   compliance with the California Public Resources Code and PG&E’s own wildfire mitigation plan.

                                   4   At least one week before the hearing, PG&E should submit its response. All facts relied on must

                                   5   be under oath. Please include details concerning the era during which PG&E did, in fact, have its

                                   6   own vegetation removal/trimming crews and address how many crews it had and how many were

                                   7   in each crew and what equipment they used.

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                                   9          IT IS SO ORDERED.

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                                  11    Dated: January 16, 2020.

                                  12
Northern District of California
 United States District Court




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                                                                                               WILLIAM ALSUP
                                  14                                                           UNITED STATES DISTRICT JUDGE

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